C0 Oe WDA vA ww

10
1]
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

i

 

Case 3:05-cr-00491-VRW Document 139 Filed 10/18/05 Page 1 of 2

ANTHONY W. GIBBS, ESQ. —- SB#047880
LAW OFFICES OF ANTHONY W. GIBBS
655 Middlefield Road

Redwood City, CA 94063 FILED Op
Tel: 650-367-7500 Cer
Fax: 650-367-1700 ASS 18 7005.
RICHAR
ERAN ese
Attorney for Defendant STRICT OF CALIFORNIA
OLEG GLADSHTEYN

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, NO. CR 05-0049 (VRW)
Plaintiff, ORDER ALLOWING TRAVEL
OF DEFENDANT OLEG
v8. GLADSHTEYN

SEMYON NEYS, et al.,

Defendants.
/

Defendant Oleg Gladshteyn requests an order from this court for him to travel by
car on Friday, October 21, 2005 to go to Pismo Beach in the County of San Luis Obispo
and return to San Francisco on Sunday, October 23, 2005. This trip is for the purpose of
a trade show that is connected with defendant Gladshteyn’s business.

Pretrial Services Officer, Victoria Gibson, has indicated to defendant that she has
no objection to this travel subject to the Court’s approval.

IT IS HEREBY ORDERED:

COPIES FAXED 70 COUNSEL OF R

CORD

 
Oo oOo SDH tA SF &

10
11
12
13
14
{5
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 3:05-cr-00491-VRW Document 139 Filed 10/18/05 Page 2 of 2

Oleg Gladshteyn may travel out of the City and County of San Francisco to the

County of San Luis Obispo for the purpose of attending a trade show connected with his

business from October 21 through October 23, 2005.

DATED; 18 SC? as |
a Mer

HON. VAUGHN R. WALKER
JUDGE OF THE U.S, DISTRICT COURT

od

 
